                       UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                               Case No. 20-cv-954



FARHAD AZIMA,

    Plaintiff,
                                                     PROPOSED DISCOVERY PLAN
    v.                                                 OF PLAINTIFF FARHAD
                                                              AZIMA
NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

    Defendants.



         Pursuant to Federal Rule of Civil Procedure 26(f), a telephone conference was held
on November 1, 2022, between counsel for the Plaintiff and counsel for the Defendants, at
which the parties discussed and continued to negotiate the following discovery plan.
Counsel for Plaintiff believed the Parties had agreed on the bulk of discovery plan, except
for issues involving the anticipated scope of discovery,1 and sent counsel for Defendants a
draft joint discovery plan on November 9, 2022, that included the parties’ respective
positions on the scope of discovery. On November 10, 2022, just a few hours before the
Motion was to be filed, Defendants informed Plaintiffs that they would be filing a separate

         1
          The parties also disagree regarding the timing for appropriate “commencement”
of discovery under the Rules. Counsel for Plaintiff informed counsel for Defendants during
the November 1, 2022, conference call that Plaintiff intended to begin discovery
immediately and counsel for Defendants did not object to Plaintiff beginning discovery.
Following the November 1, 2022, conference between the parties, Plaintiff sought certain
third-party records by issuance of subpoena in accordance with Fed. R. Civ. P. 26(d). In an
email of November 9, 2022, Counsel for Defendants objected to the subpoenas as being
premature. Counsel for the Plaintiff explained that Fed. R. Civ. P. 26(d) and its
commentary contemplate discovery commencing following the Rule 26 conference of the
parties, and neither the federal nor the local rules prohibit discovery before the entry of a
pretrial order. Since being informed of Defendants’ objection, Plaintiff has not issued
additional subpoenas before the entry of the pretrial order.

                                              1


         Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 1 of 9
discovery plan. Defendants have not provided a copy of what they intend to file. Based
on the version previously circulated, Counsel for Plaintiff objects to Defendants’ requested
discovery as being irrelevant to this matter. In addition, the level of detail and argument
in Defendants’ draft position goes beyond what is appropriate for a Rule 26(f) Report, and
is written in an inflammatory fashion with untrue accusations about Plaintiff, none of which
are appropriate for this Report. Rather than address the merits of Plaintiff’s trade secret and
civil conspiracy claims and any alleged defense, Defendants’ description of the appropriate
scope of discovery seems solely designed to disparage Plaintiff, as Plaintiff has alleged in
his conspiracy claim. Counsel for Plaintiff thus encouraged counsel for Defendants to
reconsider and rewrite their description of the scope of discovery to something more
reasonable and appropriate.
       On November 10, 2022, counsel for Defendants acknowledged that the Parties
agreed on portions of the Report, except for disagreements about “the scope of discovery
and the topics on which discovery will occur.” Defendants thus informed Plaintiff for the
first time—less than two-and-a-half hours before the noon deadline—that Defendants
“intend to file a separate proposed report by the noon deadline today.” Defendants have
not shared their amended report.
       Because counsel for Defendants refused to file a joint report, Plaintiff submits this
proposed discovery plan and individual Rule 26(f) report.
  I.   Initial Disclosures
       The parties agree to provide initial disclosures by December 11, 2022.
 II.   Plaintiff’s Proposed Discovery Plan
       a.     Discovery During Pending Dispositive Motion
              There are currently no pending dispositive motions.
       b.     Anticipated Scope of Discovery
       Discovery will be conducted on the operative allegations and claims contained in
Plaintiff’s Complaint and the denials and defenses raised in Defendants’ Answer. The
Parties disagree as to the proportionate scope of discovery. Below is Plaintiff’s position.



                                              2


       Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 2 of 9
       The operative claims in the complaint include both a claim for misappropriation of
trade secrets and a conspiracy claim. Plaintiff alleges that Defendants were part of a
sophisticated global conspiracy spanning several years and countries. Accordingly,
Plaintiff intends to take discovery on the following topics:
       • Plaintiff intends to take discovery on the role the Defendants played in the
          alleged civil conspiracy to obtain Plaintiff’s trade secrets, including but not
          limited to the unlawful agreement in or around 2014 to form the conspiracy to
          misappropriate and use Plaintiff’s data, including trade secrets and the identity
          of Defendants’ co-conspirators.
       • Plaintiff intends to take discovery on the circumstances by which Defendants
          obtained and stored Plaintiff’s trade secrets on any devices, drives, and servers,
          including    any   devices   lost   or   destroyed.   This    discovery    includes
          communications between Defendants and any of their co-conspirators, vendors,
          subcontractors, or agents who obtained and provided Plaintiff’s trade secrets to
          Defendants, including communications with hackers.
       • Plaintiff intends to take discovery on use of Plaintiff’s trade secrets by
          Defendants. This discovery includes but is not limited to Defendants’ delivery
          of Plaintiff’s trade secrets to members of the conspiracy, Defendants’ sharing of
          Plaintiff’s trade secrets with law enforcement, Defendants’ sharing of Plaintiff’s
          trade secrets to members of the press for broader publication, and Defendants’
          instructions to subcontractors to publish Plaintiff’s trade secrets on blog sites.
       • Plaintiff intends to take discovery on Defendants’ communications and actions
          to conceal Defendants’ misappropriation and misuse of Plaintiff’s trade secrets,
          including the destruction of evidence and the creation of false and fraudulent
          documents. This discovery includes the circumstances by which Defendants lost
          or destroyed documents and devices, fabricated evidence, or deleted messaging
          applications to conceal communications with conspirators close in time to the
          filing of this complaint in October 2020. [See D.E. 61] This discovery also
          includes the circumstances by which Defendants and co-conspirators, lawyers,

                                              3


      Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 3 of 9
           and agents pressured witnesses and drafted false and misleading statements to
           disguise Defendants’ connection to hackers in or around July 2020.            The
           destruction of documents and fabrication of evidence is directly relevant to
           Defendants’ state of mind in communicating with the hackers.
       • Plaintiff intends to take discovery on Defendants’ use of U.S. financial
           institutions in furtherance of the conspiracy to misappropriate and misuse
           Plaintiff’s trade secrets, including the receipt and payment of funds to conspiracy
           members.
       • Plaintiff intends to take discovery on Defendants’ affirmative defenses,
           including but not limited to whether Defendants coordinated with their co-
           conspirators regarding the defenses as part of the alleged civil conspiracy to
           harm Plaintiff.
       Defendants seek to improperly narrow the scope of Plaintiff’s discovery. It is not
disputed that the operative allegations in the Complaint include a civil conspiracy between
Defendants, Dechert LLP, CyberRoot, and others to steal Plaintiff’s confidential data and
use it against him. Accordingly, the nature and scope of the agreement, the circumstances
leading to the agreement, and acts taken in furtherance of the conspiracy, including, for
example, how the Defendants came into possession of the trade secrets that they
misappropriated as alleged in the complaint, are all relevant and necessary parts of
Plaintiff’s case.
       Plaintiff objects to the overly broad scope of Defendants’ intended discovery as
described above. The discovery sought is not relevant to Plaintiff’s claims of
misappropriation of trade secrets and conspiracy or any viable defense or other matter
alleged by Defendants. Particularly in a case where Plaintiff alleges that Defendants’
actions were taken to damage his reputation and harm him financially, such broad
discovery could only be designed to further the damage to Plaintiff by expanding the scope
of discovery to matters that have no relevance to the remaining claims and defenses in this
case. Defendants have not brought any claims against Plaintiff and have not made any
allegations with particularity to support their accusations. Under the circumstances, and as

                                              4


       Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 4 of 9
will be further argued at the upcoming hearing, it is inappropriate to allow such discovery
of Plaintiff.
       Plaintiff reserves the right to supplement his proposed discovery issues and seek
other appropriate modifications to the case management order. Plaintiff also reserves the
right to object to any additional topics for discovery that Defendants include in their
unilateral proposed discovery plan, which Defendants opted to file—rather than a joint
submission—the morning of November 10, 2022.
       c.       Proposed Case Management Track
       The Parties agree and seek leave of the court to take discovery pursuant to a
Complex case management track. Pursuant to the Complex case management track, parties
will serve no more than 25 interrogatories and requests for admission per party and take no
more than 7 depositions each (including of any experts) without leave from the Court.
       d.       Date for Completion of Discovery
       The parties agree to modify the discovery track so that discovery will end July 1,
2023, with all discovery requests to be served at least 30 days in advance such that
responses are due on or before the close of discovery.
       e.       Stipulated Modifications to the Discovery Track
       As noted above, the parties agree to modify the discovery track such that discovery
ends eight months after the initial pretrial conference.
       f.       Disclosure of Expert Reports
       The parties will designate experts by the close of fact discovery, and expert
discovery will conclude by August 1, 2023.
III.   Mediation
       The parties agree to explore mediation before the close of discovery, the exact date
to be set by the mediator in consultation with the parties. If the parties cannot agree on a
mediator, the parties agree that the mediator shall be selected by the clerk from the Court’s
panel of mediators.




                                               5


       Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 5 of 9
IV.    Preliminary Deposition Schedule
       Depositions may begin in accordance with the initial pretrial order once entered by
the Court, following notices of depositions, and at dates and times in the notice of
deposition or otherwise agreed upon by the parties.
 V.    Other Items
       The parties should be allowed until 21 days after the entry of this order to request
leave to join additional parties or amend pleadings. After these dates, the Court will
consider, inter alia, whether the granting of leave would delay trial.
       Trial of the action is expected to take approximately 14 days. A jury trial has been
demanded.
       The parties will agree upon a protective order before any confidential information
is disclosed. The parties will comply with Local Rules 5.4 and 5.5 protocol as set forth in
a separate Report filed contemporaneously herewith as to any documents or matters
proposed to be sealed.
       Discovery in this matter shall take the form agreed upon by the Parties following
the establishment of the proportionate scope of discovery.
       Respectfully submitted on this, the 10th day of November, 2022.
                                          WOMBLE BOND DICKINSON (US) LLP

                                          /s/ Ripley Rand
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                                              6


      Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 6 of 9
                             MILLER & CHEVALIER CHARTERED


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                             Counsel for Plaintiff




                               7


Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 7 of 9
                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            CASE NO. 20-CV-954


FARHAD AZIMA,

       Plaintiff,

       v.                                          CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and VITAL
MANAGEMENT SERVICES, INC.,

       Defendants.




       I hereby certify that I electronically filed the foregoing with the Clerk of Court using
the CM/ECF system, which will send electronic notification of this Notice to the following
attorneys:
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                                              8


      Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 8 of 9
This, the 10th day of November, 2022.

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                                   9


Case 1:20-cv-00954-WO-JLW Document 91 Filed 11/10/22 Page 9 of 9
